 

Case 3:17-cV-OOlOl-RDl\/| Document 98 Filed 07/30/18 Page 1 of 1

|N THE UN|TED STATES D|STR|CT COURT
FOR THE M|DDLE D|STR|CT OF PENNSYLVAN|A

CONSUMER F|NANC|AL
PROTECT|ON BUREAU,
P|aintiff,
. 3:17-CV-101
v. : (JUDGE MAR|ANl)
NAV|ENT CORPORAT|ON, et al., l
Defendants.
0RDER

AND NOW, THlS 30TH DAY OF JULY, 2018, upon review of P|aintist letter
advising the Court of a discovery dispute (Doc. 95) and Defendants’ response thereto (Doc.
97), lT lS HEREBY 0RDERED THAT a telephonic conference call in the above-captioned
matter shall be held on Wednesday, August 8, 2018, at 2:30 p.m. Counsel for Plaintiff is
responsible for arranging the call to (570) 207-5750 and all parties should be ready to

proceed before the undersigned is contacted.

 

 

§$ben D. Ma`nam/
United States District Judge

